                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO
IN RE RICHARD M. OSBORNE, SR.                     CASE NO. 17-17361
                  Debtor                          JUDGE ARTHUR I. HARRIS
                                                  CHAPTER 11

     MOTION OF DEBTOR FOR ENTRY OF AN AGREED ORDER AUTHORIZING USE OF CASH
         COLLATERAL WITH ERIE BANK AND GRANTING ADEQUATE PROTECTION
         Richard M. Osborne, Sr. debtor and debtor-in-possession (“Debtor”) moves the Court

pursuant to sections 105(a), 361 and 363 of Title 11 of the United States Code, 11 U.S.C. §§ 101

et seq. (the “Bankruptcy Code”) and Federal Rule of Bankruptcy Procedure 4001, for entry of an

order authorizing Debtor to utilize cash collateral and granting adequate protection (“Motion”).

                                         BACKGROUND

         On December 17, 2017 (“Petition Date”), Debtor commenced this reorganization case by

filing a voluntary petition for relief under chapter 11 of the Bankruptcy Code. Debtor is

continuing in possession of its properties and assets and is operating and managing its businesses

as debtor-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee,

examiner, or official committee of unsecured creditors has been appointed in Debtor’s chapter 11

case.

         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Venue of this case in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                            Prepetition Credit Agreements with Erie bank

         The Debtor and one or more of his companies have loans outstanding with Eire Bank fka

Lake National Bank (“Erie”). Exhibit A lists these loans. Three of these loans are with the

Debtor or the Richard M. Osborne Trust (“Trust”), and are secured by the properties owned by

the Debtor or the Trust listed on Exhibit B (“Loans” and “Properties”). On December 17, 2017



Motion Cash Collateral EB


17-17361-aih        Doc 172     FILED 06/18/18    ENTERED 06/18/18 10:12:10          Page 1 of 10
the Debtor revoked the Trust which caused the Trust’s property to revest in the Debtor on that

date. The Properties are therefore property of this bankruptcy estate.

        Each of the Loans is secured by a mortgage and an assignment of rents on each of the

Properties. The Debtor does not dispute the validity of Erie’s loans or liens.

                                      RELIEF REQUESTED

        By this Motion, Debtor seeks authority to use cash collateral generated from the

Properties (“Cash Collateral") as that term is defined in section 363(a) of the Bankruptcy Code

and provide adequate protection to Erie. In the usual course of his affairs the Debtor would be

paying the Loans on a monthly basis.

                                        BASIS FOR RELIEF
        Federal Rule of Bankruptcy Procedure 4001(b) provides that a final hearing on a motion

to use cash collateral pursuant to section 363 may not be commenced earlier than 15 days after

service of such motion. Debtor’s ordinary course operations generate Cash Collateral through

the collection of rents. Erie asserts a security or ownership interest in Debtor’ Cash Collateral

that is generated as rents on the Properties. 1

        The monthly payment due Erie under each of the Loans includes an escrow for real estate

taxes. In order to preserve the equity in the properties, the real estate taxes must be paid and the

Loans must be paid to the extent the Cash Collateral permits.

        As adequate protection for any interest in Cash Collateral which Eris has or may have,

Debtor is willing to pay the rents collected from the Properties to Erie, with the proviso that Erie

first pay the real estate taxes due on the Properties, and any excess amount being available to pay

interest on Erie’s Loans.



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  Debtor reserves the right to challenge the validity, priority and perfection of all security interests
asserted by any party in any assets of Debtor.
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CLE - 1101989.1


17-17361-aih      Doc 172     FILED 06/18/18        ENTERED 06/18/18 10:12:10            Page 2 of 10
        Section 363(c)(2) of the Bankruptcy Code provides that a debtor may not use, sell or

lease cash collateral unless “(A) each entity that has an interest in such cash collateral consents;

or (B) the court, after notice and a hearing, authorizes such use, sale, or lease in accordance with

the provisions of this section.” 11 U.S.C. § 363(c)(2), and Erie has objected to any use of its

Cash Collateral without an order from the Court.

        WHEREFORE, for the foregoing reasons, Debtor respectfully request that this Court

enter an Order, in the form attached hereto as Exhibit C, (i) authorizing Debtor’s use of the Cash

Collateral as set forth herein and granting Debtor such other and further relief as is just and

equitable.

                                               Respectfully submitted,
                                               /s/ Frederic P. Schwieg
                                               Frederic P. Schwieg, Esq.
                                               Attorney at Law
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                                               Rocky River OH 44116-3008
                                               (440) 499-4506
                                               fschwieg@schwieglaw.com
                                               Proposed Attorney for Debtor-In-Possession




                                                  3
CLE - 1101989.1


17-17361-aih      Doc 172    FILED 06/18/18        ENTERED 06/18/18 10:12:10            Page 3 of 10
                                          CERTIFICATE OF SERVICE

I hereby certify that a copy of this Motion to Use Cash Collateral was electronically transmitted on or about the date
filed via the Court’s CM/ECF system to the following who are listed on the Court’s Electronic Mail Notice list or
was served by U.S. mail, postage prepaid, or certified mail on the persons below as indicated below.
Electronic Mail Notice List
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:
17-17361 Notice will be electronically mailed to the U.S. Trustee, and:

Gregory P. Amend on behalf of Creditor First National Bank of Pennsylvania
gamend@bdblaw.com, grichards@bdblaw.com

Alison L. Archer on behalf of Interested Party Lakeland Community College
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Adam S. Baker on behalf of Creditor Michael E. Osborne, Sr.
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Robert D. Barr on behalf of Creditor Chicago Title Insurance Company
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David T. Brady on behalf of Creditor Tax Ease Ohio, LLC
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Stephen R. Franks on behalf of Creditor Bank of America, N.A.
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Christopher J. Klym on behalf of Creditor Ohio Department of Taxation
bk@hhkwlaw.com

Matthew H. Matheney on behalf of Creditor First National Bank of Pennsylvania
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Timothy P. Palmer on behalf of Creditor The Huntington National Bank
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Kirk W. Roessler on behalf of Creditor Estate of Jerome T. Osborne
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Rachel L. Steinlage on behalf of Interested Party Zachary B Burkons
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CLE - 1101989.1


17-17361-aih       Doc 172        FILED 06/18/18           ENTERED 06/18/18 10:12:10                  Page 4 of 10
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Jeffrey C. Toole on behalf of Interested Party Zachary B Burkons
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Michael S. Tucker on behalf of Creditor Citizens Bank, N.A.
mtucker@ulmer.com

Maria D. Giannirakis ust06 on behalf of U.S. Trustee United States Trustee
maria.d.giannirakis@usdoj.gov

Scott R. Belhorn ust35 on behalf of U.S. Trustee United States Trustee
Scott.R.Belhorn@usdoj.gov

Ordinary US Mail Service:
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Lake County Prosecutor-Civil
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Painesville OH 44077-0490

Ohio Department of Job & Family Services
Attn: Program Services/Revenue Recovery
P.O. Box 182404
Columbus, Ohio 43218-2404

Ohio Bureau of Workers' Compensation
Attn: Law Section Bankruptcy Unit
P.O. Box 15567
Columbus, Ohio 43215-0567

Ohio Attorney General
Collections Enforcement Section
attn Bankruptcy Staff
150 E Gay ST Fl 21
Columbus, OH 43215


                                                         /s/ Frederic P. Schwieg
                                                         Frederic P. Schwieg




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CLE - 1101989.1


17-17361-aih       Doc 172        FILED 06/18/18         ENTERED 06/18/18 10:12:10   Page 5 of 10
POC No    Date    Loan  Date   Amount        Property Address     Value            Primary Debtor             Mortagor                            Guarantor Guarantor Guarantor
     11    2/6/18     1/9/08   $183,383.91   5600 Vrooman Rd        $257,080.00    RMO Trust/RMO              RMOT/RMO/Vrooman Road Devel. Ltd
     12   2/15/18    1/15/13    $74,975.00   9130‐38 Tyler          $225,490.00    9130‐38 Tyler Blvd LLC     9130‐38 Tyler Blvd LLC              RMO       RMOT
     13   2/20/18    5/27/11    $55,422.67   8724 Munson Rd         $104,420.00    2100 Lakeside LLC          Heisly Hopkins, LLC                 RMO       RMOT      Heisly Hopkins, Inc.
     14   2/21/18    2/19/14   $180,423.98   7319 Reynolds Rd       $247,670.00    Route 306 Properties LLC   Route 306 Properties LLC            RMO       RMOT      Heisly Hopkins, Inc.
     15   2/21/18    7/29/09    $62,628.10   7319 Reynolds Rd       $204,140.00    RMOT                       RMOT                                RMO
     16   2/21/18    4/30/08    $90,152.42   7317 Reynolds Rd       $145,960.00    RMOT                       RMOT/RMO
     17   2/21/18     7/7/15   $181,236.92   6271‐6281 Tin Man Rd   $250,000.00    RMO                        Yellowbrick Storage LLC
     18   2/21/18    8/18/14    $12,577.03   2014 Dodge Ram           $22,725.00   Osair, Inc.                Osair, Inc.                         RMO
     19    3/2/18    8/23/16   $783,559.96   6730‐6738 Center St+ $1,150,000.00    Tatonka Oil Co LLC         Achievement LTD                     RMO




                                                         EXHIBIT
                                                               A



                               17-17361-aih           Doc 172         FILED 06/18/18               ENTERED 06/18/18 10:12:10                     Page 6 of 10
POC No. Loan  Date Amount      Maturity Date Current Interest Rate Monthly Payment        Property Address   RE Tax prorated Monthly  Monthly Rent             Value
       11   1/9/08 $183,383.91       3/1/2018                                 $1,950.79   5600 Vrooman Rd                      $89.63                $750.00      $257,080.00
       15  7/29/09 $62,628.10        9/1/2014                  6.50%           $967.62    11579 Girdled Rd                    $410.91                $900.00      $204,140.00
       16  4/30/08 $90,152.42        6/1/2018                                  $665.75    7317 Reynolds Rd                    $277.77                $800.00      $145,960.00




                                                 EXHIBIT
                                                       B



                          17-17361-aih         Doc 172       FILED 06/18/18          ENTERED 06/18/18 10:12:10                  Page 7 of 10
                            UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF OHIO
IN RE RICHARD M. OSBORNE, SR.                       CASE NO. 17-17361
                  Debtor                            JUDGE ARTHUR I. HARRIS
                                                    CHAPTER 11

 AGREED ORDER GRANTING MOTION OF DEBTOR FOR ORDER AUTHORIZING
   USE OF CASH COLLATERAL AND GRANTING ADEQUATE PROTECTION
         Before the Court is the Motion of Debtor for Entry of an Agreed Order Authorizing Use

Of Cash Collateral with Erie Bank and Granting Adequate Protection [Doc. __] ( “Motion”), a

hearing on the Motion ahveing been scheduled for the July ____ 2018 commencing at 11:00

AM; not party in interest having opposed the Motion the Court finds as follows:

         1.       it has jurisdiction over the matters raised in the Motion under 28 U.S.C. §§ 157

and 1334; (ii) venue of this matter is proper under 28 U.S.C. §§ 1408 and 1409;

         2.       this matter is a core proceeding under 28 U.S.C. § 157(b)(2); (iv) the relief

requested in the Motion is in the best interests of Debtor, its estate, creditors, and other parties in

interest;

         3.       adequate and proper notice of the Motion and the hearing thereon has been given

and that no other or further notice is necessary;
                                EXHIBIT
Motion Cash Collateral EB
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17-17361-aih        Doc 172    FILED 06/18/18       ENTERED 06/18/18 10:12:10            Page 8 of 10
        4.        The Debtor and one or more of his companies have loans outstanding with Eire

Bank fka Lake National Bank (“Erie”). Exhibit A to the Motion lists these loans. Three of these

loans are with the Debtor or the Richard M. Osborne Trust (“Trust”), and are secured by the

properties owned by the Debtor or the Trust listed on Exhibit B to the Motion (“Loans” and

“Properties”). On December 17, 2017 the Debtor revoked the Trust which caused the Trust’s

property to revest in the Debtor on that date. The Properties are therefore property of this

bankruptcy estate;

        5.        Each of the Loans is secured by a mortgage and an assignment of rents on each of

the Properties. The Debtor does not dispute the validity of Erie’s loans or liens; and

        6.        good and sufficient cause exists for the granting of the relief requested in the

Motion as set forth herein. Accordingly,

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.        The Debtor is authorized to pay the rents collected from the Properties to Erie,

with the proviso that Erie first pay the real estate taxes due on the Properties, and any excess

amount being available to pay interest on Erie’s Loans.

        2.        This Order shall be immediately effective and enforceable upon entry.

                                                ###

Prepared and submitted by:

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Proposed Attorney for Debtor-In-Possession

Agreed to By:
/s/ Sctot Fink, Esq.
Scott D. Fink, Esq
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CLE - 1101989.1


17-17361-aih       Doc 172     FILED 06/18/18      ENTERED 06/18/18 10:12:10             Page 9 of 10
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                                              3
 CLE - 1101989.1


17-17361-aih       Doc 172   FILED 06/18/18   ENTERED 06/18/18 10:12:10   Page 10 of 10
